USDC IN/ND case 2:11-cr-00077-PPS-APR              document 1390         filed 02/05/15    page 1 of 2


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                    HAMMOND DIVISION

   UNITED STATES OF AMERICA,                        )
                                                    )
                  Plaintiff,                        )
                                                    )
         v.                                         )     NO. 2:11CR77 PPS
                                                    )
   JASON MEDINA,                                    )
                                                    )
                  Defendant.                        )
                                                    )

                                               ORDER

         This matter is before me on the Findings and Recommendation of Magistrate Judge

  Andrew P. Rodovich relating to defendant Jason Medina’s request to enter a plea of guilty to

  Counts 1 and 31 of the Fourth Superseding Indictment, pursuant to Rule 11 of the Federal Rules

  of Criminal Procedure. [DE 1322.] Following a hearing on the record on January 14, 2015 [DE

  1321], Judge Rodovich found that defendant understands the charges, his rights, and the

  maximum penalties; that defendant is competent to plead guilty; that there is a factual basis for

  defendant’s plea; and that the defendant knowingly and voluntarily entered into his agreement to

  enter a plea of guilty. Judge Rodovich recommends that the Court accept defendant’s plea of

  guilty and proceed to impose sentence. Neither party has filed a timely objection to Judge

  Rodovich’s Findings and Recommendation.

         ACCORDINGLY:

         Having reviewed the Magistrate Judge’s Findings and Recommendation Upon a Plea of

  Guilty, to which no objection has been filed, the Court hereby ADOPTS the Findings and

  Recommendation [DE 1322] in their entirety.
USDC IN/ND case 2:11-cr-00077-PPS-APR           document 1390       filed 02/05/15    page 2 of 2


         Defendant Jason Medina is adjudged GUILTY of Counts 1 and 31 of the fourth

  superseding indictment.

         The sentencing hearing is set for May 14, 2015 at 10:00 a.m. Hammond/Central time.

         SO ORDERED.

         ENTERED: February 5, 2015.

                                            /s/ Philip P. Simon
                                            PHILIP P. SIMON, CHIEF JUDGE
                                            UNITED STATES DISTRICT COURT




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